Case 2:19-cv-07934-DMG-SK Document 83 Filed 05/26/22 Page 1 of 2 Page ID #:1313



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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10                             WESTERN DIVISION
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  12   ARYA TOUFANIAN,                        Case No. CV 19-7934-DMG (SKx)

  13              Plaintiff,                  ORDER CONTINUING TRIAL
  14                                          DATE [82]
           v.
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  16   KYLE OREFFICE, an individual; GIVE
       BACK MEDIA, LLC, a Georgia limited
  17   liability company; and DOES 1-10,
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                  Defendants.
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Case 2:19-cv-07934-DMG-SK Document 83 Filed 05/26/22 Page 2 of 2 Page ID #:1314



   1           The Court, having read and considered the parties’ Joint Stipulation to
   2   Continue the Trial Date, and good cause appearing, HEREBY ORDERS that the
   3   trial date is continued to Tuesday, November 15, 2022 at 8:30 a.m. in Courtroom
   4   8C of the above-captioned court. The Court further sets a Final Pretrial Conference
   5   for October 18, 2022 at 2:00 p.m. The deadline for the Parties’ pretrial filings is
   6   September 27, 2022. The opposition to any motions in limine is due by October 4,
   7   2022.
   8           The parties shall comply with the Court’s Scheduling and Case Management
   9   Order [Doc. # 49], except to the extent modified herein.
  10   IT IS SO ORDERED.
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  12   DATED: May 26, 2022
                                               DOLLY M. GEE
  13
                                               UNITED STATES DISTRICT JUDGE
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